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Print Name: STEVEN CURTIS LEECH
SID #:13345628
S.R.C.I.
777 Stanton Blvd.
Ontario, OR. 97914

                    IN THE UNITED STATES DISTRICT COURT

                             FOR THE STATE OF OREGON

                                     PORTLAND DIVISION




        STEVEN CURTIS LEECH,                   )
                                               )        Civil Action No. 2 :23-cv-00794-AN
               Plaintiff,                      )
                                               )
       v.                                      )        MOTION FOR DISCOVERY
                                               )
       GARCIA et al.,                          )
                                               )
               Defendant.                      )


                                                   1.

        COMES NOW, the Plaintiff, STEVEN CURTIS LEECH, and hereby petitions this court

for all papers, pictures, and all evidence, disclosing the following, but not limited to materials and

information within its possession or control, or which may at any time hereafter come into its

possession or control before the time of the trial in this case.

                                                   2.

        The names, addresses and dates of birth of the persons intended to be called as witnesses

at any stage of the trial, together with all written or recorded statements or memorandum of oral

statements of such persons, including all records in its possession.


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          1) Any written or recorded statements or memorandum of any oral statements made by

          the defendant, or made by a co-defendant (if any).

          2) Any reports or statements of experts made in connection with this particular case,

          including but not limited to results of any physical or mental examination, and of any

          scientific tests, or experiments.

          3) Any books, papers, documents, photographs, or tangible objects:

              A. Which the State intends to offer in evidence at the trial, or

              B. Which were obtained from or belong to the defendant.

          4) If actually known to the State, any record of prior criminal conviction of the person

          whom the State intends to call as a witness at the trial; and requiring the State to make

          good faith effort to determine if any such convictions have occurred.

          5) Any and all exculpatory evidence, including any and all evidence which may tend

          to mitigate punishment that the State has in its possession or control prior to the date

          of the trial.

                                    3.
       1) Any D.O.C. policies and procedures relating to the handling of mental health crises

       Dated this l l~ ay of December 2023.


                                                     Respectfully Submitted,

                                                    ~
                                                    (Signature)
                                                                ~
                                                     Print Name: STEVEN CURTIS LEECH
                                                     Sid #: 13345628
                                                     S.R.C.I.
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                                                     Ontario, OR. 97914

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